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    ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                           Case No. 24-1130
                     Consolidated With No. 24-1113

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


            TIKTOK INC. and BYTEDANCE LTD.
                                       Petitioners,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                     the United States,
                                       Respondent.
                 (continued on inside cover)


 ON PETITION FOR REVIEW OF THE PROTECTING AMERICANS
  FROM FOREIGN ADVERSARY CONTROLLED APPLICATIONS
                     ACT (H.R. 815)


           OPENING BRIEF OF CREATOR PETITIONERS


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    BRIAN FIREBAUGH, CHLOE JOY SEXTON, TALIA CADET,
 TIMOTHY MARTIN, KIERA SPANN, PAUL TRAN, CHRISTOPHER
              TOWNSEND, and STEVEN KING,
                                     Petitioners,
                                         v.
               MERRICK B. GARLAND, in his capacity
                 as United States Attorney General,
                                                     Respondent.
                                 ———————


                          BASED Politics Inc.,
                                                Petitioner,
                                    v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                    the United States,
                                               Respondent.


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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rules 27(a)(4) and 28(a)(1)(A), Petitioners

Brian Firebaugh, Chloe Joy Sexton, Talia Cadet, Timothy Martin, Kiera

Spann, Paul Tran, Christopher Townsend, and Steven King (“Creator

Petitioners”) certify as follows.

      Parties and Amici: The parties to Firebaugh v. Garland, No. 24-

1130, are the Creator Petitioners and Respondent Merrick B. Garland, in

his official capacity as Attorney General of the United States. The parties

to the consolidated case, TikTok Inc. v. Garland, No. 24-1113, are

Petitioners TikTok Inc. and ByteDance Ltd., and Respondent Garland, in

his official capacity as Attorney General of the United States. The parties

to the second consolidated case, BASED Politics Inc. v. Garland, No. 24-

1183, are Petitioner BASED Politics Inc. and Respondent Garland, in his

official capacity as Attorney General of the United States. No amicus

curiae has appeared in any of the three actions. Because these petitions

were filed directly in this Court, there were no district-court proceedings

in any of the cases.

      Rulings Under Review:         These petitions seek direct review of

whether the Protecting Americans from Foreign Adversary Controlled


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Applications Act (H.R. 815, Div. H, 118th Cong., Pub. L. No. 118-50 (April

24, 2024)) is constitutional. There are no prior rulings under review.

     Related Cases: These petitions were not previously before this

Court or any other court, nor is counsel for the Creator Petitioners aware

of any other case pending before this or any other court that is related to

this petition within the meaning of Circuit Rule 28(a)(1)(C).



                                         /s/ Ambika Kumar
                                         Ambika Kumar

                                         Counsel for Creator Petitioners




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                           INTRODUCTION

      Petitioners are among the 170 million Americans who use TikTok,

a social media platform integral to the fabric of modern culture. TikTok

is a place where Petitioners share, teach, advocate, commiserate,

celebrate, grieve, entertain, and learn. TikTok stands apart from other

social media apps, presenting a unique form of expression that has a

different look, feel, and sound. It also offers a distinct editorial and

publication system, which in turn provides access to a wide audience.

      Because TikTok is a wellspring of free expression—indeed, one of

our society’s primary sources of communal engagement—the First

Amendment safeguards the right of Americans to speak and associate

using the platform. Yet in the Protecting Americans from Foreign

Adversary Controlled Applications Act, Pub. L. No. 118-50, Div. H, 138

Stat. 895, 955–60 (April 24, 2024) (“the Act”), Congress has singled out

the content on TikTok for elimination. Worse, it has done so without

making a single legislative finding; without providing TikTok any ability

to address whatever concerns underlie the Act; and without first trying

less drastic means of achieving any legitimate goals legislators may have.

      This Court should permanently enjoin enforcement of the Act. Our


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constitutional tradition leaves no room for the government to stop

Petitioners from expressing their ideas through the editor and publisher

they have chosen. The government could no more prohibit a freelance

journalist from publishing in a magazine of her choice; forbid an actor

from working with a particular director; or tell a musician what studio

he can record in. Nor does it make any difference that the law has an

exemption for so-called “qualified divestiture.” Divestiture appears to be

impossible—and, even if it were achievable, it would still sever

Petitioners’ ongoing association with TikTok as it currently exists, and

with audiences they have garnered using TikTok’s special content

recommendation system.

      Even if some governmental interest could theoretically overcome

the First Amendment implications of the Act, the legislative record here

would still fall far short. Certain lawmakers purportedly fear that TikTok

could disseminate foreign propaganda and “influence[] the American

public” through “the information we share and consume.”1 But the

content or viewpoint of speech provides no justification for suppressing

it. Plus, the Act itself belies any imminent or serious national security

—————
1 Add. 99–100, available at https://tinyurl.com/4m5hshp4.

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risk of this sort, for it allows TikTok to continue operating through the

rest of this year—including during an election that the very President

who signed the bill says is existential for our democracy. Finally,

lawmakers have asserted TikTok user data might be used for espionage

or the like. Yet the government has never provided evidence supporting

any such risk, nor any basis to conclude any such risk is limited to data

held by TikTok. Even if the government could provide such evidence,

there would be far narrower means to address any data-security

concern—as Congress demonstrated in the very same legislation.

      In many nations, the right to free speech is subject to the whims of

politicians. Not in this one, where the First Amendment stands as a

bulwark against governmental efforts to censor speech—and all the more

so where the censorship is based on the content of speech, its speaker, or

the editorial practices that facilitate its publication. The Court should

enjoin enforcement of the Act.

                     JURISDICTIONAL STATEMENT

      This Court has original jurisdiction under Pub. L. No. 118-50, Div.

H, § 3(a)‒(b), 138 Stat. 895, 959–60.




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                 ISSUES PRESENTED FOR REVIEW

      1.   Whether the Protecting Americans From Foreign Adversary

Controlled Applications Act violates the First Amendment.

      2.   Whether the Court should declare the Act unconstitutional

and enjoin its enforcement.

                     STATUTES AND REGULATIONS

      Petitioners attach a copy of the Act as an Addendum.

                      STATEMENT OF THE CASE

      A.   TikTok Provides a Vibrant and Distinct Platform for
           Expression to Petitioners and Millions of Other Americans.2

      The TikTok app provides a vital communicative forum for more

than 170 million Americans (and more than one billion people

worldwide).3 TikTok allows users to create, publish, view, interact with,

and share videos up to ten minutes long.4 From dance challenges to book

reviews to do-it-yourself tutorials, TikTok videos address topics as

diverse as human thought.

—————
2 This Brief uses the term “creators” to refer to individuals who create

and share videos, and the term “users” to describe both creators and
individuals who consume such content.
3 Add. 103–05, available at https://tinyurl.com/4dfa5u3u; id. 107–38,

available at https://tinyurl.com/mup78jrs.
4 Add. 140–43, available at https://tinyurl.com/yzd448jc; id. 145–48,

available at https://tinyurl.com/35j47x5k.
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      Petitioners are just eight examples of the millions who use TikTok

regularly to express themselves, learn, advocate for causes, share

opinions, create communities, and even make a living:

    Brian Firebaugh, a first-generation rancher and U.S. Marine Corps
     veteran, educates the public about agricultural issues, promotes his
     ranch and products, and helps the ranching community through
     charitable endeavors. Firebaugh Decl. ¶¶ 2–3, 6, 8–9, Add. 18–22.


    Chloe Joy Sexton creates videos about parenting, mental health,
     and the cookie business that the platform enabled her to launch.
     Sexton Decl. ¶¶ 4–9, Add. 45–47.


    Talia Cadet shares book reviews and promotes Black authors and
     Black-owned-businesses. Cadet Decl. ¶ 4, Add. 9–10.


    Timothy Martin, a football coach, makes sports-commentary videos
     and connects with other fans and former athletes. Martin Decl.
     ¶¶ 2, 5, Add. 35–36.


    Paul Tran posts information about his skincare company,
     documents memories with his daughter, connects with other dads,
     follows martial arts, and researches travel and restaurants. Tran
     Decl. ¶¶ 3, 8, 11–12, Add. 73, 76, 78–79.


    Steven King creates humorous content about his daily life and
     spreads awareness about LGBTQ pride, self-confidence, and sober
     living. King Decl. ¶¶ 4, 6–7, Add. 29–31.


    Kiera Spann advocates for the rights of sexual-assault survivors,
     shares information about books, news, and politics, and encourages

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      political and social advocacy. Spann Decl. ¶¶ 3, 6, Add. 52–53, 54–
      55.


    Christopher Townsend, a U.S. Air Force veteran, shares music he
     writes and produces, posts light-hearted videos quizzing people on
     their biblical knowledge, and participates in “Conservative Hype
     House” on TikTok, which discusses and debates views on current
     events from a conservative perspective. Townsend Decl. ¶¶ 3, 4, 8,
     9, 11, Add. 63–64, 67–68.


      Petitioners and other creators use TikTok not only to exchange

material of social and artistic import, but also for speech integral to our

political culture. Spann and Townsend, for example, have used TikTok

for issue advocacy. Spann Decl. ¶ 6, Add. 54–55; Townsend Decl. ¶ 9, Add.

67–68. Many politicians post on TikTok to reach a broad demographic,

activate new supporters, and gain popularity. U.S. senators have for

years reached their constituents on TikTok, and they continue to do so

now.5 The Biden and Trump presidential campaigns both have active

TikTok accounts.6 Indeed, on the same day President Biden signed the




—————
5 See, e.g., Add. 150–51, available at https://tinyurl.com/msxmmv5c; id.

152–54, available at https://tinyurl.com/3smcxhm3.
6 Add. 156–71, available at https://tinyurl.com/2b7as6vh; id. 173,

available at https://tinyurl.com/mtwbxeda.
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Act, his campaign’s deputy manager stated it “would be silly to write off

any place where people are getting information about the president.”7

      Finally, Petitioners—and millions of others—use TikTok to post

and obtain information about news and current events. King finds

TikTok to be one of the most unbiased and authentic places for news.

King Decl. ¶ 11, Add. 33. Spann has found that TikTok has a unique

ability to spread time-sensitive and important news faster than other

platforms. Spann Decl. ¶ 14, Add. 59–60.

      B.   TikTok’s Innovative Editorial Tools Allow Creators to Reach
           Substantial Audiences and Build Meaningful Communities.

      Creators, including Petitioners, choose TikTok because it is

different. Spann Decl. ¶¶ 7–9, 13–14, Add. 55–56, 58–60. TikTok owes its

distinct identity and culture to many things.

      First is its novel medium. TikTok provides users tools to amplify

creators’ expression, such as background music, filters, and special

effects.8 TikTok also lets users react to other videos through “duets,”

where creators post their videos alongside other videos; “stitches,” where

creators clip and integrate scenes from other videos into their own; and


—————
7 Add. 177, available at https://tinyurl.com/4n5y3546.
8 See Add. 183–85, available at https://tinyurl.com/nypwfbh2.

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“remixes,” where creators mix up more than one video to create another.

See, e.g., Townsend Decl. ¶ 13, Add. 69–70 (using “duet” to collaborate

with another musical artist).

      Similarly, CapCut, another app ultimately owned by ByteDance

Ltd., provides innovative tools for making the type of “fast-paced, hyper-

edited, short-form vertical video” that “TikTok mainstreamed” and has

become “the dominant form of expression for millions of content

creators.”9 The app’s “green screen” feature, for example, allows creators

to offer criticism or commentary in the style of a news presenter, with

their heads floating over an image or a video. Content created on TikTok

and CapCut thus looks and sounds different than content created

elsewhere.

      Unlike other social media platforms, TikTok does not require users

to create profiles with information such as their backgrounds, likes,

interests, education, employment, or relationship status, nor does it

require users to “follow” or “friend” others. Instead, TikTok’s “For You”

page displays videos tailored to each user but not tied to such personal




—————
9 Add. 188, available at https://tinyurl.com/yz9rcypd.

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information.10 This allows users to explore new and different content

without seeking out specific content.11 In this way, TikTok compiles and

curates expression from millions of people globally to create personalized

collections for each user.

      The   “For     You”    page   is       powered   by    TikTok’s    content

recommendation system, which selects content for users based on

judgments from their interaction with other content. Because this system

amplifies creators’ voices in distinct ways, even little-known creators can

gain substantial organic reach, exposing their content not just to more

viewers but to specific viewers most likely to enjoy their content.12 See

Martin Decl. ¶ 8, Add. 37–38; King Decl. ¶¶ 4, 7, Add. 29, 31. As a result,

TikTok creators can—and often do—become sensations with simple,




—————
10 See Add. 195–99, available at https://tinyurl.com/8nhhert3; id. 201,

available at https://tinyurl.com/2rm3b6ua.
11 Add. 212, available at https://tinyurl.com/bdf5fu5x (“That means that

every user has the chance of global fame. Even if you have no followers
at all….”); see id. 218, available at https://tinyurl.com/2mks2euy (“After
years of irrelevant, disconnected feeds, TikTok has revamped the
scrolling experience, enabling discovery and curating interest-based
entertainment.”); id. 224, available at https://tinyurl.com/mvyjptkn
(TikTok’s algorithm “surface[s] content based on engagement with
internet trends rather than metrics indirectly tied to follower count”).
12 Add. 228–33, available at https://tinyurl.com/22h7rtvx.

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spontaneous videos.13 See Firebaugh Decl. ¶ 5, Add. 19–20; Spann Decl.

¶¶ 4–5, Add. 53–54.

      Petitioners have experienced this firsthand. Spann’s video about a

domestic assault, for example, has been viewed over nine million times.

The video led to media coverage and advocacy that ultimately resulted in

the perpetrator being held accountable, as well as meaningful reforms in

Spann’s community. Spann Decl. ¶¶ 4–5, Add. 53–54. Firebaugh created

a video showing himself petting one of his Longhorn cattle to dispel the

myth that the animals are vicious; the video went viral (that is, it spread

rapidly among users) and led users to follow him and ask questions about

ranching, agriculture, and livestock. Firebaugh Decl. ¶ 5, Add. 19–20.

      TikTok’s content recommendation system also opens doors for

connection, even internationally. For instance, Spann and Cadet

participate in BookTok, a large, well-known community of readers who

share and engage with TikTok videos reviewing, recommending, and

discussing books. Spann Decl. ¶ 6, Add. 54–55; Cadet Decl. ¶ 4, Add. 9–




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13 Add. 235–41, available at https://tinyurl.com/yc45ttt5; id. 243–48,

available at https://tinyurl.com/22j6bxyt.
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10.14 Martin has used TikTok to build a community of former and current

athletes and fans, connecting over their experiences and love of sports.

Martin Decl. ¶ 11, Add. 39. About 39,000 of Martin’s followers are based

in the United Kingdom, including a passionate group of fans who follow

him to learn about American football. Similarly, King has connected with

other LGBTQ creators and audiences, often answering questions from his

followers about his experience coming out as gay in Arizona, his 28-year

marriage, and his experience with sober living. King Decl. ¶ 7, Add. 31.

Like Martin, King has amassed a loyal international following and has

even met fans when traveling abroad. Id. ¶ 8, Add. 31–32.

      Other social media platforms have attempted but failed to recreate

TikTok’s “secret sauce.”15 It thus comes as no surprise that Petitioners

have been far more successful sharing their ideas and views on TikTok

than anywhere else. Despite efforts to grow their presence on other

platforms, all of them have far fewer followers on those other apps. See


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14 Add. 250–70, available at https://tinyurl.com/kkvj3xur; id. 272,

available at https://tinyurl.com/yt4muhv8.
15 Add. 283–86, available at https://tinyurl.com/mrxx6xub; id. 288–90,

available at https://tinyurl.com/y9ssbvz5; id. 292–95, available at
https://tinyurl.com/5yp2s4ej;      id.    300–03,     available     at
https://tinyurl.com/25eh5zpb.
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King Decl. ¶ 10, Add. 32 (6.8 million TikTok followers, 137,000 on

Facebook); Sexton Decl. ¶ 12, Add. 48–49 (2.2 million TikTok, 50,000

Instagram); Townsend Decl. ¶ 7, Add. 66–67 (2.5 million TikTok, 1.9

million Facebook); Firebaugh Decl. ¶ 7, Add. 21 (443,000 TikTok, 23,000

Instagram); Martin Decl. ¶¶ 6–7, Add. 36–37 (1 million TikTok, 10,200

Instagram); Spann Decl. ¶ 9, Add. 56 (770,000 TikTok, less than 10,000

Instagram); Tran Decl. ¶ 9, Add. 76–77 (142,800 TikTok, less than 2,000

Facebook); Cadet Decl. ¶ 12, Add. 14–15 (129,000 TikTok, less than

10,000 Instagram). Some Petitioners have also found the same videos

perform better on TikTok than on other platforms, which Sexton

attributes to the fact that TikTok’s algorithm gets her videos in front of

the viewers most likely to find it compelling. Sexton Decl. ¶ 12, Add. 48–

49; see also King Decl. ¶ 10, Add. 32; Martin Decl. ¶ 7, Add. 37.

      Petitioners accordingly believe that changing the ownership or any

editorial practices on TikTok would threaten the vitality—or at least the

quality—of the forum. In fact, they have already had that experience with

another platform. See, e.g., Martin Decl. ¶ 16, Add. 42, Spann Decl. ¶ 16,

Add. 60–61; Cadet Decl. ¶ 15, Add. 16 (explaining that their user

experiences on “X”, formerly Twitter, deteriorated after Elon Musk


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acquired the company and made certain fundamental changes to the

app).16

      C.   Courts Block Attempts to Ban TikTok.

      Regulators have long scrutinized TikTok because its parent

company has Chinese subsidiaries—both under the guise of data-security

concerns and fear about China’s purported ability to shape content that

Americans see. But courts have put a swift end to attempts to shut down

TikTok.

      In 2020, then-President Trump tried to ban TikTok through an

executive order, suggesting that the app presented a national security

threat. But courts held that speech-protective provisions of the

International Emergency Economic Powers Act precluded Trump from

doing so, particularly in the absence of any evidence demonstrating any

actual threat. See TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 83 (D.D.C.

2020); TikTok Inc. v. Trump, 507 F. Supp. 3d 92, 112 (D.D.C. 2020)

(noting absence of evidence), dismissing appeal, 2021 WL 3082803 (D.C.

Cir. July 14, 2021); Marland v. Trump, 498 F. Supp. 3d 624, 642 (E.D.



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16 See also Add. 305–13, available at https://tinyurl.com/3bstx77m; id.

315–20, available at https://tinyurl.com/bp734skr.
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Pa. 2020) (rejecting government’s “descriptions of the national security

threat posed by the TikTok app” as “hypothetical”).

      Earlier this year,     another     federal   district   court enjoined

enforcement of a TikTok ban enacted by the Montana Legislature. Alario

v. Knudsen, --- F. Supp. 3d. ----, 2023 WL 8270811, at *8, *13 (D. Mont.

Nov. 30, 2023) (appeal filed). The court held that the ban censored

protected speech and found unsupported the State’s claim that Chinese

officials could “gain access to Montanans’ data without their consent.” Id.

at *13.

      D.   TikTok Spends More than $2 Billion on Improvements.

      Even though it prevailed in these legal actions, TikTok works to

appease governmental concerns. In particular, it is implementing

numerous measures to safeguard U.S. user data and protect the platform

against foreign government influence. TikTok Br. at 15–17, TikTok v.

Garland, No. 24-1113 (D.C. Cir. June 20, 2024) (“TikTok Br.”). TikTok

has voluntarily invested more than $2 billion alone to build a system of

technological and governance protections, sometimes referred to as

“Project Texas.”17 TikTok has also reported making additional


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17 Add. 322–25, available at https://usds.tiktok.com/.

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commitments in a proposed National Security Agreement developed

through negotiations with the Committee on Foreign Investment in the

United States, including agreeing to a “shut-down option” that would give

the government authority to suspend TikTok in the United States if the

company were found to violate certain obligations.18 Id.

      E.   Congress Bans TikTok.

      Notwithstanding TikTok’s actions—and the lack of evidence

supporting any supposed data-security concerns—Congress recently

passed the Protecting Americans from Foreign Adversary Controlled

Applications Act, Pub. L. No. 118-50. The Act bans TikTok (and all other

apps, like CapCut, ultimately owned by ByteDance Ltd.) throughout the

United States, effective January 19, 2025.

      The Act effectuates this ban by prohibiting a “foreign adversary

controlled application” from being made available within the territorial

borders of the United States. See Act § 2(a)(1)(A)-(B). The Act then makes

clear that it targets one company: TikTok. The Act expressly defines

“foreign adversary controlled application,” first and foremost, as any app



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18 Add. 327–33, available at https://tinyurl.com/2rkmwyuw; see also

TikTok Br. at 15–17.
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operated by “TikTok” or its ultimate parent, “ByteDance Ltd.” Id.

§ 2(g)(3)(A)(i)‒(iii).

      The Act also makes clear its focus is the type of speech TikTok

publishes. In addition to singling out TikTok itself, the Act establishes a

more general category of “covered compan[ies]” to which it theoretically

applies. Id. § 2(g)(2)(A). Even for such companies, the Act applies only to

entities that operate a platform with more than one million monthly

active users during a specified time period that enables those users to

“generate,     share,     and   view   text,   images,    videos,    real-time

communications, or similar content.” Id. § 2(g)(2)(A)(i). At the same time,

the Act excludes from that catchall definition of “covered company” any

entity that offers any app “whose primary purpose is to allow users to

post product reviews, business reviews, or travel information and

reviews.” Id. § 2(g)(2)(B).

      Although the Act contains no legislative findings or even a

declaration of the basis for this ban, the Act’s supporters have offered

various reasons for singling out TikTok.19 One of the bill’s co-sponsors,

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19 See, e.g., Add. 335–36, available at https://tinyurl.com/23j8st77; id.

342, available at https://tinyurl.com/njsz2zar (TikTok curates content to

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Representative Krishnamoorthi (IL), claimed that “the CCP [Chinese

Communist Party] has ultimate control of the algorithm which feeds the

content   of   the   platform.”20   Other   supporters    claimed     TikTok

“manipulate[s] the minds of Americans”21; disseminates “propaganda”

that would “use our country’s free marketplace to undermine our love for

liberty”22; enables China “to engage in psychological warfare against the

American people”23; and should be banned because it has become a

“dominant news platform” to which young Americans increasingly turn

for news and information.24

      The only way the Act allows TikTok to continue publishing in the

United States beyond early 2025 is through a “qualified divestiture.”

Under this exemption, TikTok’s owners would have to sell the platform

within 270 days to an entity approved by the President, following an


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“drive certain messages to divide Americans, to destabilize our politics,
to influence policymakers to denigrate policymakers, [and] to tear our
country apart”).
20 Add. 344, available at https://tinyurl.com/ycxw6xpf (video timestamp

at 0:39).
21 170 Cong. Rec. H1163, H1169 (daily ed. Mar. 13, 2024) (statement of

Rep. Dan Crenshaw (TX)).
22 Add. 346, available at https://tinyurl.com/tw8zdns5.
23 Add. 349, available at https://tinyurl.com/mwaunwda.
24 170 Cong. Rec. at H1165 (statement of Rep. Mike Gallagher (WI)).

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unspecified “interagency process.” Id. § 2(a)(1)(A), § 2(a)(2)(A), § (2)(g)(6).

The President would also have to ensure that any divested successor does

not maintain “any operational relationship” between its U.S. operations

and any “formerly affiliated entities that are controlled by a foreign

adversary,” including any “cooperation with respect to the operation of a

content recommendation algorithm.” Id. § 2(g)(6).

      At any rate, TikTok has repeatedly explained that divestiture

under the Act is not “commercially, technologically, or legally feasible.”

See Pet. For Review ¶¶ 25–29, TikTok v. Garland, No. 24-1113 (D.C. Cir.

May 7, 2024); see also TikTok Br. at 21–24.25 No governmental entity has

made any findings suggesting otherwise.

      Penalties for violating the Act are severe. The Act subjects any

entity (such as an app store or webhost) that facilitates access to TikTok

to a penalty of $5,000 “multipl[ied] … by the number of users within the

land or maritime borders of the United States” who access, maintain, or

update the app as a result of the violation. Id. § 2(d)(1)(A). Given TikTok’s




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25 See also Add. 352–56, available at https://tinyurl.com/bdp8mk74; id.

327–33, available at https://tinyurl.com/2rkmwyuw.
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approximately 170 million users in the United States, such a fine could

be as high as $850 billion.

                      SUMMARY OF ARGUMENT

      I. The Act suppresses protected speech and association without any

permissible basis.

      A. The Act restricts Petitioners’ First Amendment rights to speak,

associate, and receive speech from others.

      1. To begin, the Act denies Petitioners’ right to choose where they

speak. TikTok is an online platform where nearly half the American

population goes to find community and connect with others. It is also the

forum where Petitioners prefer to express themselves. For good reason:

TikTok empowers them to be their authentic selves in ways other

platforms do not—to speak freely, be vulnerable, and share their

beliefs—and to reach audiences with whom their messages will most

resonate.

      2. The Act similarly deprives Petitioners of their right to choose how

they speak. TikTok is a distinct medium of expression. Like leafletting or

rapping, creating content using TikTok has a special look, feel, and sound

that makes TikTok a unique form of expression. The First Amendment


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protects Petitioners’ right to package and publish their content in this

way.

       3. The Act also restricts Petitioners’ right of expressive association

by denying them their chosen editor and publisher. Just as the First

Amendment protects a freelance journalist’s choice to publish her article

with a magazine she chooses, or a musical artist’s ability to record in the

studio he chooses, it also protects Petitioners’ desire to express

themselves with their chosen editor and publisher: TikTok.

       4. Finally, the Act inhibits Petitioners’ right to receive speech.

TikTok is Petitioners’ preferred source to receive news and information

about topics ranging from sports to politics. They believe the content is

timely, unbiased, and diverse. Petitioners also watch TikTok for its sheer

entertainment value—viewing skits, songs, and dances that others share.

Yet the Act will prevent them from receiving these information and ideas

from others.

       5. The Act’s divestiture exemption does not eliminate, or even

lessen, these multifarious First Amendment burdens. Divestiture does

not appear to be commercially, technologically, or legally feasible. Even

if divestiture were possible, the Act would still curtail Petitioners’ First


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Amendment rights because the divested entity would no longer be

TikTok as it exists today; the way the content recommendation system

works would necessarily change. Divestiture would also have the effect

of disconnecting Petitioners—along with all other Americans—from the

rich and diverse content from the rest of TikTok’s global platform and

community.

      B. The burdens the Act inflicts on Petitioners’ constitutional right

to speak and associate cannot be justified.

      1. The Act imposes an impermissible prior restraint insofar as it

preemptively shutters future expression without any legislative findings

or opportunity to show that TikTok does not constitute what the Act

elsewhere defines a “foreign adversary controlled application.” A prior

restraint is permissible on national security grounds only when

necessary to prevent imminent, direct, and irreparable harm of the

highest magnitude. Yet the Act on its face falls short of that standard. It

allows TikTok at least nine months to keep publishing, making clear that

the purported dangers the platform presents are anything but imminent.

The Act also lacks any finding that the threat here is sufficiently grave

and concrete to justify a prior restraint.


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      2. The Act otherwise is subject to and fails means-ends scrutiny.

Strict scrutiny applies here because the Act restricts speech based on its

content, viewpoint, publisher, and speaker. At a bare minimum, the Act’s

direct suppression of speech requires it to survive intermediate scrutiny.

      The government cannot satisfy either level of scrutiny. For starters,

various legislators’ purported desire to shield Americans from foreign

propaganda is not a legitimate purpose under the First Amendment. Nor

is that interest supported by any evidence (much less substantial

evidence) that any genuine threat exists. Finally, the Act does not

materially or narrowly advance any interest in combatting foreign

propaganda.

      Other legislators’ purported interest in data-security fares no

better. No evidence has been produced demonstrating a concrete or likely

harm along these lines. Nor does the Act advance any such interest. And

even if it did, there are less speech-restrictive means of protecting the

data of Americans who use TikTok—as evidenced by other legislation

Congress enacted in the same omnibus package, as well as numerous

alternatives TikTok has proposed. Lastly, given TikTok’s unique nature,

the Act does not leave open ample alternatives for Petitioners’ speech.


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      3. Even if the Act legitimately restricted some speech or association,

the Act would still violate the First Amendment because it is overbroad.

The Act shuts down all expression on TikTok, regardless of whether it

constitutes foreign propaganda or implicates any other supposed national

security concern. And the vast majority of the speech posted on TikTok

poses no threat whatsoever.

      II. The Court should declare the Act unconstitutional and enter an

order permanently enjoining its enforcement. In the alternative, the

Court should temporarily enjoin the Act and order further proceedings as

necessary to determine whether the Act passes constitutional muster.

                               ARGUMENT

      Petitioners—along with millions of other Americans—use TikTok

to publish their views on politics, religion, literature, sports,

entertainment, and other topics. Their content ranges from the

lighthearted (like cooking tips) to the deeply serious (like advocacy for

sexual assault survivors). Yet in one broad stroke, the Act promises to

shutter this entire forum, preventing Petitioners from expressing

themselves in this most communal of settings. This act of censorship

prohibits   speech   and    association   that   the    First     Amendment


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unquestionably protects. And Congress has not remotely justified this

dramatic measure. This unprecedented suppression of core First

Amendment activity should be permanently enjoined.

I.    The Act Suppresses Speech and Association that the First
      Amendment Protects.

      A.   The Act Burdens Core First Amendment Activity.

      The First Amendment provides that “Congress shall make no

law … abridging the freedom of speech.” U.S. Const. amend I. This

provision embodies “our profound national commitment to the free

exchange of ideas.” Ashcroft v. ACLU, 535 U.S. 564, 573 (2002) (citation

omitted). Yet the Act regulates content on TikTok so as to restrict

Petitioners’ ability (1) to speak using their preferred forum; (2) to speak

in their preferred medium; (3) to associate with a particular editor and

publisher; and (4) to receive their fellow users’ ideas. These burdens

independently and collectively implicate core First Amendment activity.

           1.    The Act bans a forum for protected expression.

      “A fundamental principle of the First Amendment is that all

persons have access to places where they can speak and listen, and then,

after reflection, speak and listen once more.” Packingham v. North

Carolina, 582 U.S. 98, 104 (2017). One such place is the Internet. Indeed,

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“[w]hile in the past there may have been difficulty in identifying the most

important places (in a spatial sense) for the exchange of views, today the

answer is clear.” Id. “It is cyberspace—the ‘vast democratic forums of the

Internet’ in general, and social media in particular.” Id. (citation

omitted). The Supreme Court has therefore made clear that the First

Amendment protects the right of individuals to access social networking

sites, explaining that such sites are, for many, “the principal sources for

knowing current events, checking ads for employment, speaking and

listening in the modern public square, and otherwise exploring the vast

realms of human thought and knowledge.” Id. at 107.

      This reasoning applies with full force to TikTok. TikTok is, by some

Congress members’ own admission, “one of the most dominant social

media platforms in recent history.”26 On TikTok, Petitioners have found

communities of “book lovers,” Cadet Decl. ¶ 8, Add. 12; cattle ranchers

and people interested in agriculture, Firebaugh Decl. ¶¶ 7, 10, Add. 21–

23; sexual assault survivors and their advocates, Spann Decl. ¶ 7, Add.


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26 170 Cong. Rec. at H1170 (statement of Rep. Sheila Jackson Lee (TX));

see also Alario, 2023 WL 8270811, at *6 (noting that Montana law
banning TikTok restricted a “means of expression used by over 300,000
Montanans”).
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55; sports fans and former athletes, Martin Decl. ¶¶ 7, 11, Add. 37, 39;

“Christians and conservative-minded people,” Townsend Decl. ¶ 7, Add.

66–67; “mothers and other baking afficionados,” Sexton Decl. ¶ 12, Add.

48–49; as well as LGBTQ audiences and individuals living in or working

through sobriety, King Decl. ¶ 7, Add. 31.

      These communities are essential to Petitioners’ ability to speak as

they choose. As Sexton explains, because of the “close-knit community

that [she has] developed on TikTok,” she is “comfortable being vulnerable

and expressing [her]self on the app.” Sexton Decl. ¶ 10, Add. 47–48. On

other apps, by contrast, “there is more pressure to filter and sanitize one’s

life to convey an unrealistic image of perfection.” Id. TikTok empowers

Townsend to speak freely and authentically without fear of being

“shouted down.” Townsend Decl. ¶ 6, Add. 65–66; see id. ¶ 16, Add. 71

(TikTok is “a space for expressing myself that has come to mean so much

to me”). In Martin’s experience, “TikTok seems to know much better than

the other apps[,] where to send [his] videos to allow them to have the

most impact,” which has allowed him to grow “a genuine and supportive

following and reach many more people than on the other apps.” Martin

Decl. ¶¶ 7–8, Add. 37–38.


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      Preventing Petitioners from reaching their audiences on TikTok

stymies their ability to spread their messages. Indeed, it amounts to

nothing less than “a ‘suppression of speech.’” Turner Broad. Sys., Inc. v.

FCC, 520 U.S. 180, 226 (1997) (“Turner II”) (Breyer, J., concurring in

part).

           2.    The Act bans a distinctive medium for protected
                 expression.

      The First Amendment protects not only a speaker’s right to pick

where she expresses herself but also the medium she uses for that

expression. Thus, just as banning speech in a particular forum implicates

the First Amendment, so, too, does a law that “completely foreclose[s]” a

particular “means of communication that is both unique and important.”

City of Ladue v. Gilleo, 512 U.S. 43, 54 (1994). The Supreme Court, for

example, has applied First Amendment scrutiny to a ban on residential

signs, explaining that the choice to display signs from one’s home “often

carries a message quite distinct from placing the same sign someplace

else, or conveying the same text or picture by other means.” Id. at 56. The

Ninth Circuit likewise has invalidated an ordinance banning tattoo

parlors, rejecting the government’s argument that the First Amendment

was not seriously implicated because tattoo artists could theoretically

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express the same words, images, and symbols through other mediums.

Anderson v. City of Hermosa Beach, 621 F.3d 1051, 1065–66 (9th Cir.

2010). In short, even if alternative avenues of communication remain, the

restriction of an important and distinctive medium of communication is

a “burden on First Amendment expression.” Meyer v. Grant, 486 U.S.

414, 424 (1988).

      The Act unquestionably bans a special medium of expression. Like

residential signs, posts on TikTok “carr[y] a message quite distinct from

conveying the same text or picture[s] through some other” Internet app

or website. City of Ladue, 512 U.S. at 56. The reasons are in part

technological: Creators like Martin rely on tools like CapCut, a video

editing app used to create posts, without which he cannot “create the

exact same effects—or express myself the same way.” Martin Decl. ¶ 9,

Add. 38–39. Townsend relies on TikTok’s duet and stitch features to

collaborate with other musical artists. Townsend Decl. ¶ 13, Add. 69–79.

      To be sure, other social media platforms have “tried to mimic

TikTok’s editing tools.” Id. ¶ 5, Add. 64–65. But there is a “fundamental

difference” between posting videos on TikTok and on other platforms:

TikTok and Facebook, for example, have “distinct core functionalities”


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that are not “reasonably interchangeable.” Klein v. Facebook, Inc., 580 F.

Supp. 3d 743, 768–69 (N.D. Cal. 2022) (citation omitted). Townsend, for

instance, finds “the experience on TikTok to be much more natural and

intuitive.” Townsend Decl. ¶ 5, Add. 64–65. Furthermore, TikTok allows

creators to post longer videos on the main “For You Page” than on

Facebook Stories. This gives Cadet “time to really delve into the details

of a good book review or thoughtfully engage in a discussion about

celibacy and self-care,” and encourages her “to be a more real and less

filtered version of [her]self and to truly express [her]self—more so than

on the other apps.” Cadet Decl. ¶ 13, Add. 15.

      The medium of TikTok is also distinct because of TikTok’s culture.

Content created on TikTok not only looks and sounds different than

content created elsewhere—it also is substantively different. See, e.g.,

Townsend Decl. ¶ 6, Add. 65–66 (“TikTok’s distinct culture allow[s] me

to speak freely and share my authentic opinions”); Spann Decl. ¶ 8, Add.

55–56 (contrasting her experience on TikTok to speak candidly about

issues such as sexual assault with her experience on other platforms).

That is in large part due to TikTok’s recommendation system, which

allows creators and users to reach, and hear from, others with whom they


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may not otherwise connect.27 Unlike other platforms, TikTok’s

recommendation system seems to care little about how many followers

the creator has.28 As a result, the content on TikTok is, in Petitioners’

experience, different and more authentic. See Spann Decl. ¶ 13, Add. 58–

59 (demonstrating difference in search results for “France” on TikTok

and Instagram).

           3.     The Act restricts Petitioners’ right to associate with
                  their chosen editor and publisher.

      The Act also implicates Petitioners’ First Amendment right of

expressive association by denying Petitioners their chosen editor and

publisher: TikTok.

      That choice lies at the core of the “right to associate for the purpose

of speaking,” Rumsfeld v. F. for Acad. & Institutional Rts., Inc., 547 U.S.

47, 68 (2006), and to “join with others to further shared goals,” Americans

for Prosperity Found. v. Bonta, 594 U.S. 595, 618 (2021). In other words,

the First Amendment guards against government actions that prohibit

individuals from choosing with whom they wish to join together to



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27 See, e.g., Add. 358–65, available at https://tinyurl.com/4ujw8vfv; id.

208–14, available at https://tinyurl.com/bdf5fu5x.
28 See Add. 208–14, available at https://tinyurl.com/bdf5fu5x.

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express themselves. Id. at 616. Thus, in Hurley v. Irish-American Gay,

Lesbian & Bisexual Group of Boston, 515 U.S. 557 (1995), the Supreme

Court applied the First Amendment to a state law regulating

participation in a parade. And the Court did so even though the various

“expressive units of the parade” would not collectively “produce a

particularized message.” Id. at 574. It was enough that changing with

whom people express themselves would “essentially … alter the

expressive content” of the expression. Id. at 572.

      The right of expressive association is all the more important where

it involves a speaker’s right to choose their editor or publisher. Cf.

Tornillo v. Miami Herald Publ’g Co., 418 U.S. 241, 258 (1974)

(invalidating law requiring editor to print specific editorials). Editors and

publishers play important roles in curating and disseminating speech.

The First Amendment would thus apply with special force if, for instance,

the government prohibited a freelance journalist from placing stories

with the magazine she chooses; a novelist from publishing with

Macmillan instead of Simon & Schuster; a musician from releasing a

record under her chosen label; or a political candidate from airing his

views on the website he prefers.


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      To put a finer point on this principle, consider the famed recording

studio in Muscle Shoals, Alabama. During the 1960’s and 1970’s,

countless musical icons—from Aretha Franklin to the Rolling Stones to

Paul Simon—“travel[ed] to the southern banks of the Tennessee river,

searching for a bit of that Muscle Shoals magic.”29 The “[l]egendary

Muscle Shoals [s]ound”—like TikTok’s unique look and feel—stemmed

from many factors.30 It derived in part from the studio’s particular group

of backup musicians and sound engineers. It also owed to the particular

construction and configuration of the studio itself: a room with “all the

edges rounded off,” and finished with “acoustic tile, louvered walls, and

baffles.”31 Some even thought the laid-back vibe of the rural South

brought out a different attitude in the artists. But whatever the sources

of the studio’s success, if a governmental entity had suddenly sought to

prohibit musicians from recording at Muscle Shoals—perhaps concerned

about the owner’s views regarding civil rights or salacious lyrics in the

artists’ songs—it could not have escaped First Amendment scrutiny

simply because the studio was one of many places to make records.

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29 Add. 367, available at https://tinyurl.com/3cxjyt9y.
30 Add. 373–76, available at https://tinyurl.com/yw927cz4.
31 Add. 385, available at https://tinyurl.com/2s3n8rbm.

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      The First Amendment likewise applies here, where Petitioners

wish to express themselves using TikTok as their publisher and editor.

TikTok offers distinctive tools that allow Petitioners to generate unique

content. See supra at 8–10. The culture of the app creates its own special

flavor. See supra at 8–12, 32. And in Petitioners’ experience, TikTok’s

publishing and editorial decisions magnify their ability to connect with

others, result in more awareness and engaging content, and can spread

time-sensitive and important content faster than any other platform.

Spann Decl. ¶¶ 13–14, Add. 58–60; King Decl. ¶¶ 4–5, Add. 29–30.

           4.    The Act restricts Petitioners’ rights to receive
                 information and ideas.

      The First Amendment protects not only the right to speak and

associate but also “the right to receive information and ideas.” Stanley v.

Georgia, 394 U.S. 557, 564 (1969). Indeed, this right—regardless of the

“social worth” of the content at issue—“is fundamental to our free

society.” Id. (collecting cases); see also Martin v. City of Struthers, 319

U.S. 141, 143 (1943) (First Amendment “necessarily protects the right to

receive” information). And it applies equally to information produced

domestically or abroad. See Lamont v. Postmaster Gen., 381 U.S. 301

(1965). Here, the Act directly restricts Petitioners’ rights to receive

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information. TikTok Br. at 23–24. Like many Americans, King gets all of

his news about both domestic and international issues from TikTok—in

part because he trusts certain “TikTok creators who are journalists … to

produce unbiased and authentic news.” King Decl. ¶ 11, Add. 33. Spann

believes TikTok “to be one of the most authentic and timely sources where

you can hear diverse and organic perspectives instead of the more

curated and potentially biased accounts.” Spann Decl. ¶ 13, Add. 58–59.

Martin enjoys discussing football “with people living all over the world,”

while Firebaugh has international followings from countries with large

ranching communities. Martin Decl. ¶ 16, Add. 42; Firebaugh Decl. ¶ 17,

Add. 26. Almost 20 percent of Spann’s followers are from outside the

United States, and she values connecting “with survivors and advocates

all over the world—bonding over and grieving our shared experiences

while learning from our differences.” Spann Decl. ¶ 7, Add. 55.

      Last but not least, in Petitioners’ experience, TikTok delivers news

and other information more quickly than any other app. As Spann

explains, “I always hear about news from TikTok first—it can sometimes

be days or even longer before news on TikTok trickles down to the other




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social media platforms.” Id. ¶ 14, Add. 59–60. The First Amendment

protects Petitioners’ right to such timely content.

           5.    The Act’s divestiture provision does not eliminate, or
                 even lessen, the burden.

      The restrictions on Petitioners’ speech are not alleviated by the

Act’s provision theoretically permitting TikTok to divest its United

States operations.

      For one thing, divestiture does not appear to be a realistic option.

TikTok has repeatedly explained—and publicly available information

confirms—that the Act’s divestiture standard is not “commercially,

technologically, or legally feasible.” See TikTok Br. at 21–24. The purpose

and effect of the Act is thus to ban TikTok—and, in turn, Petitioners’

speech on the platform—entirely.

      Even if divestiture were feasible, the Act would still burden

Petitioners’ speech. The availability of a burdensome alternative to

speaking in a particular forum does not allow a regulation to escape First

Amendment scrutiny. “Lawmakers may no more silence unwanted

speech by burdening its utterance than by censoring its content.” Sorrell

v. IMS Health Inc., 564 U.S. 552, 566 (2011); see also FEC v. Mass.

Citizens for Life, Inc., 479 U.S. 238, 255 (1986) (plurality opinion)

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(alternative avenues for expression irrelevant to whether First

Amendment applies to a burden on speech).

      Any divestiture would necessarily burden Petitioners’ speech by

limiting the effectiveness of TikTok as a forum for expression. The Act

explicitly prohibits a divested successor from maintaining “any

operational relationship” with “any formerly affiliated entities that are

controlled by a foreign adversary,” including “cooperation with respect to

the operation of a content recommendation algorithm.” Act § (2)(g)(6)(B).

Accordingly, even if the current recommendation system could be

transferred to another company (and TikTok says it cannot), the new

owner would maintain and periodically update that system. And the new

owner would almost certainly follow its own (different) publishing and

editorial policies. These changes would alter Petitioners’ expression just

the same as if the government forced an actor to work with a different

director, a musician to record her album with a different studio, or a

freelance writer to publish in a different magazine. See Cadet Decl. ¶ 15,

Add. 16; Spann Decl. ¶ 16, Add. 60–61; King Decl. ¶ 14, Add. 34.

      Divestiture would also limit the audience to whom Petitioners can

speak and the creators from whom they can hear. A substantial part of


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TikTok’s appeal is the richness of the international content that

Petitioners regularly enjoy. See Martin Decl. ¶ 12, Add. 40; Sexton Decl.

¶ 15, Add. 50–51; Spann Decl. ¶ 7, Add. 55; Townsend Decl. ¶ 17, Add.

71–72. And Petitioners value their ability to speak to and learn from an

international audience. See supra at 11–12, 37; Martin Decl. ¶ 12, Add.

40; Spann Decl. ¶ 7, Add. 55; Townsend Decl. ¶ 17, Add. 70–71; Cadet

Decl. ¶ 10, Add. 13 (nearly 10 percent of her followers are abroad). A

divestiture would take that away, disconnecting Americans from the rest

of TikTok’s global platform and community. TikTok Br. at 23–24. This,

in turn, would shrink the creators’ worlds. Cadet Decl. ¶ 15, Add. 16. As

Sexton says, “If I could only interact with other Americans, my world

would be much smaller.” Sexton Decl. ¶ 15, Add. 50–51.

      B.   The Act’s Burdens on Speech Violate the First Amendment

      The Act’s impingement upon Petitioners’ First Amendment rights

constitutes both a prior restraint and a substantive burden on speech and

association. Viewed through either lens, nothing justifies this

impingement.




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           1.    The Act is an invalid prior restraint.

                 a.    The Act imposes a prior restraint.

      A prior restraint forbids communications before they occur,

banning them as unlawful regardless of their content. Alexander v.

United States, 509 U.S. 544, 550 (1993). Prior restraints present “the

most serious and the least tolerable infringement on First Amendment

rights” and bear a “heavy presumption” against their validity. Neb. Press

Ass’n v. Stuart, 427 U.S. 539, 558–59 (1976) (citation omitted). Indeed,

such restraints must survive “the most exacting scrutiny,” Smith v. Daily

Mail Publ’g Co., 443 U.S. 97, 102 (1979); see also In re Sealed Case, 77

F.4th 815, 830 n.5 (D.C. Cir. 2023), pet. for cert. docketed (U.S. June 3,

2024)—a standard more stringent than even strict scrutiny.

      The Act imposes a prior restraint because it closes off Petitioners’

ability to publish videos on TikTok in advance of any expression. Se.

Promotions, Ltd. v. Conrad, 420 U.S. 546, 553 (1975); see also U.S.

WeChat Users All. v. Trump, 488 F. Supp. 3d 912, 926 (N.D. Cal. 2020)

(ban on Chinese-owned communications app imposed equivalent of prior

restraint). Indeed, the Act sweeps even more broadly than the prior

restraint in Near v. Minnesota, 283 U.S. 697 (1931), which enjoined


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publication of a single newspaper, id. at 703–05, or the impermissible law

in Grosjean v. American Press Co., 297 U.S. 233, 240–41 (1936), which

subjected a group of newspapers to a special tax, id. at 249–51. The Act

does not just close down a means to receive content (like in Near) or

burden the ability to disseminate content (like in Grosjean), but it also

ends Petitioners’ communications with more than a billion individuals in

one fell swoop. See Reno v. ACLU, 521 U.S. 844, 870 (1997).

      That the Act effectuates a prior restraint is underscored by the fact

that Congress decided that TikTok—and, in turn, TikTok’s content

creators—must have their speech preemptively suppressed while other

similar expression is allowed to continue absent various substantive

findings. That is, the Act sets out a general (if problematic) framework to

judge whether content on other apps is forbidden: the apps must have a

minimum number of users; the company that owns the app must “present

a significant threat to the national security of the United States”; and

that company must not own an app whose “primary purpose” is hosting

reviews of products or the like. See Act § 2(g)(2)(B)‒(3)(B). Not so for

TikTok: That forum, and only that forum, must shutter without any

legislative findings or opportunity to show TikTok does not meet the test


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that applies to all other companies. That preemptive suppression of

Petitioners’ speech—where “mere proof of publication” is all that is

required to violate the law—is the hallmark of a prior restraint. Near,

283 U.S. at 709.

                   b.    The Act’s prior restraint is invalid.

      Prior restraints may be justified (at least on national security

grounds) only by “direct, immediate, and irreparable damage to our

Nation or its people.” N.Y. Times Co. v. United States, 403 U.S. 713, 730

(1971) (“Pentagon Papers”) (Stewart, J., concurring). As one Justice in

the Pentagon Papers case elaborated, there is an “extremely narrow class

of cases in which the First Amendment’s ban on prior judicial restraint

may be overridden” on national security grounds: cases that arise “when

the Nation ‘is at war’” or when disclosure would “set in motion a nuclear

holocaust.” Id. at 726–27 (Brennan, J., concurring) (citation omitted).

Accordingly, seeking to avert even probable danger or a threat that is

less-than-grave is insufficient. See Craig v. Harney, 331 U.S. 367, 376

(1947). The evidence must show the need for urgent action. See

Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829, 845 (1978).

      The Act, on its face, fails to meet these requirements.


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      First, the Act does not address any “immediate” danger. To the

contrary, the Act allows TikTok to continue operations for at least nine

months from enactment—including during the entirety of our upcoming

election. This is so even though President Biden, who signed the Act, has

said “[t]he stakes in this election couldn’t be higher. What’s at stake is

nothing less than the fundamental ideal of America”32 and “whether

democracy is still America’s sacred cause.”33 And the President has

explained that foreign relations and national security are central aspects

of this vital moment.34 If TikTok can keep publishing during an election

that may decide the fate of our democracy (indeed, if the President’s own

campaign thinks the app is sufficiently safe to use, see supra at 6), it is

impossible to see how the app could constitute an immediate threat to

national security. Nor is there any reason to believe TikTok would

suddenly pose a sufficient threat to warrant the ban on January 19, 2025

(or 90 days thereafter, if the President opts to extend the period for

divestiture).




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32 Add. 402, available at https://tinyurl.com/5abbjw26.
33 Add. 408, available at https://tinyurl.com/2d5ssb8c.
34 Add. 414–18, available at https://tinyurl.com/4rjdfu5z.

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      Second, only “legislation by Congress, based on its own

investigations and findings,” can possibly justify imposing a prior

restraint to respond to a national security threat. Pentagon Papers, 403

U.S. at 732 (White, J., concurring). Yet the Act contains no legislative

findings that TikTok presents any sort of national security risk. By

definition, therefore, there is no judicially cognizable “grave and

irreparable danger” justifying the prior restraint it imposes. See id.

      Even as to apps besides those operated by TikTok or ByteDance,

the Act indicates that Congress believes an app can be shuttered based

on “significant” national security concerns. Act § 2(g)(3)(B)(ii). That

standard is lower than the “direct” and “irreparable damage” necessary

to justify a prior restraint—something like the coordinates of a naval ship

already at sea. See Pentagon Papers, 403 U.S. at 730 (Stewart, J.,

concurring). That is why the Supreme Court refused to enjoin publication

of the Pentagon Papers—detailing the nation’s involvement in the

Vietnam War—even though Members of the Court were “confident” that

their publication would do “substantial damage to public interests.” Id.

at 731 (White, J., concurring).




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            2.    The Act otherwise cannot survive means-ends scrutiny.

      Even if the Act did not impose a prior restraint, it would still violate

the First Amendment because the Act restricts speech and association,

and the government cannot show these restrictions are tailored to serve

any valid governmental interest.

                  a.    The Act is subject to rigorous scrutiny.

      For several independent reasons, the Act is subject to strict—or at

the very least, intermediate—scrutiny.

      First, the Act singles out a distinctive medium and forum. When

laws target specific media and fall upon “only a small number” of

publishers, they are subject to strict scrutiny. Turner Broad. Sys., Inc. v.

FCC, 512 U.S. 622, 659–60 (1994) (“Turner I”). In Minneapolis Star &

Tribune Co. v. Minnesota Commissioner of Revenue, 460 U.S. 575 (1983),

for example, the Supreme Court applied strict scrutiny to a law

“target[ing] individual publications” for special taxation. Id. at 585, 592–

93. Similarly, in Arkansas Writers’ Project, Inc. v. Ragland, 481 U.S. 221

(1987), the Court applied strict scrutiny to a selective tax regime that

singled out particular media outlets (even without “burden[ing] the

expression of particular views by specific magazines”). Id. at 230–31.


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Both laws were suspect because their structure—identifying specific

publishers for unfavorable tax treatment—risked suppressing certain

ideas. Turner I, 512 U.S. at 660; see also Grosjean, 297 U.S. 233

(invalidating state law imposing tax on publications having weekly

circulation of over 20,000 copies).

      So, too, here. The Act singles out a category of speech platforms—

those with a minimum number of users; those owned by a company that

“present[s] a significant threat to the national security of the United

States”; and those whose owner does not operate an app with a “primary

purpose” of hosting reviews, see Act § 2(g)(2)(B)‒(3)(B)—for disfavored

treatment. And within that category, it isolates a single publisher,

TikTok, for a more extreme form of disfavor: an outright ban without any

legislative findings whatsoever. In doing so, the Act also singles out a

specific group of content creators—Petitioners and other individuals in

America who wish to post on TikTok—and prohibits them from engaging

in the distinctive form of communal expression that is most important to

them. See supra at 4–13, 33–37.

      Second, strict scrutiny applies because the Act discriminates on the

basis of content. The “government has no power to restrict expression


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because of its message, its ideas, its subject matter, or its content.” Brown

v. Ent. Merch. Ass’n, 564 U.S. 786, 790–91 (2011) (citation omitted); see

also Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd.,

502 U.S. 105, 116 (1991) (“Regulations which permit the Government to

discriminate on the basis of the content of the message cannot be

tolerated under the First Amendment.”) (citation omitted).

      Yet the Act imposes its restrictions solely on entities with apps that

permit users to share content with one another. And for TikTok

specifically, it goes further, expressly targeting TikTok and its content

creators because of the substance of their creations. The Act excludes

from its reach any company besides TikTok or ByteDance “that operates

an [app or website] whose primary purpose is to allow users to post

product reviews, business reviews, or travel information and reviews.”

Act § 2(g)(2)(B). The Act also conditions any permissible divestiture on a

finding that TikTok’s new owner and publisher will not engage in “any

cooperation with respect to the operation of a content recommendation

algorithm,” Act § 2(g)(6)(B) (emphasis added)—thereby targeting for

extinction the very editorial presence on which Petitioners rely. These




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content-based regulations trigger strict scrutiny. Barr v. Am Ass’n of

Political Consultants, 591 U.S. 610, 618 (2020).

      The Act is also content-based because those who enacted it

repeatedly expressed concerns about the content and viewpoint of speech

on TikTok. Even facially neutral laws restricting speech are deemed

content-based when they were enacted “because of disagreement with the

message [the speech at issue] conveys.” Ward v. Rock Against Racism,

491 U.S. 781, 791 (1989); see also Reed v. Town of Gilbert, 576 U.S. 155,

164      (similar).   “The   government’s   purpose   is   the    controlling

consideration” under this line of cases, Ward, 491 U.S. at 791, and courts

can “infer censorial intent from legislative history and … invalidate laws

so motivated,” News Am. Pub., Inc. v. FCC, 844 F.2d 800, 809 (D.C. Cir.

1988).

      Here, one Congress member after another supported the Act on the

ground that they vehemently disagree with the “message” that they

believe TikTok supports. For example, the Act’s proponents claimed that

TikTok “manipulate[s] the minds of Americans,”35 disseminates

propaganda that would “use our country’s free marketplace to undermine

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35170 Cong. Rec. at H1169 (statement of Rep. Dan Crenshaw (TX)).

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our love for liberty,”36 enables China “to engage in psychological warfare

against the American people,”37 and should be banned precisely because

it has become a “dominant news platform” to which young Americans

increasingly turn for information.38 This content-based focus is

underscored by the Act’s express limitation to apps the government

believes are “controlled by a foreign adversary,” id. § 2(g)(3)(B)(i)

(emphasis added)—nomenclature that reflects Congress’ purpose to

target viewpoints (and only those viewpoints) supposedly “advers[e]” to

U.S. interests. Compare Meese v. Keene, 481 U.S. 465, 469–70 (1987)

(“The registration requirement is comprehensive, applying equally to

agents of friendly, neutral, and unfriendly governments.”).

      Even if the Court were to hold that the Act were somehow exempt

from strict scrutiny, the Act would at a minimum be subject to

intermediate scrutiny. That is because it directly restricts the right to

speak and associate, see supra at 23–37, and a law that does so must

satisfy at least intermediate scrutiny. See Turner I, 512 U.S. at 662.




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36 Add. 347, available at https://tinyurl.com/tw8zdns5.
37 Add. 349, available at https://tinyurl.com/mwaunwda.
38 170 Cong. Rec. at H1165 (statement of Rep. Mike Gallagher (WI)).

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                 b.    The Act fails any applicable level of First
                       Amendment scrutiny.

      Strict scrutiny requires the government to demonstrate that it has

addressed a compelling interest through the least restrictive means to

achieve that interest. United States v. Playboy Ent. Grp., Inc., 529 U.S.

803, 813 (2000). Intermediate scrutiny requires the government to prove

that the law serves a “substantial” government interest “unrelated to the

suppression of free expression” that is “not merely conjectural”; would

serve that interest in “a direct and material way”; is narrowly tailored to

suppress no more speech than essential to further the interest; and leaves

open ample alternative channels for speech. Turner I, 512 U.S. at 662,

664 (cleaned up); see Tinius v. Choi, 77 F.4th 691, 699 (D.C. Cir. 2023),

cert. denied, 144 S. Ct. 815 (2024). At bottom, the government must show

that (1) its curtailment of speech actually advances a compelling or

substantial interest; and (2) there is no means of serving that interest

that would not impinge upon as much protected speech. The government

cannot make this showing with respect to either of its purported

interests.




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                       1.    The government cannot justify the Act on
                             the ground that it prevents foreign
                             propaganda.

      The government cannot show that the Act is justified by a

purported interest in preventing “misinformation, disinformation, and

propaganda.” H.R. Rep. No. 118-417, at 2 (2024). This concern, as

articulated by certain legislators, appears to be grounded in a belief that

“the CCP [Chinese Communist Party] has ultimate control of the

algorithm which feeds the content of the platform.”39

      To start, suppressing content (or editorial involvement) from a

foreign publisher is not a legally compelling or significant state interest.

That is why, in Lamont, 381 U.S. 301, the government itself “expressly

disavow[ed]” the notion that any such interest could justify censoring

speech, id. at 309 (Brennan, J., concurring), and the Supreme Court

held—at the height of the Cold War—that the government could not

withhold mail containing communist propaganda, id. at 307. Doing so, a

unanimous Court explained in no uncertain terms, was “at war with the

‘uninhibited, robust, and wide open debate and discussion …



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39 Add. 344, available at https://tinyurl.com/ycxw6xpf (video timestamp

at 0:39).
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contemplated by the First Amendment.’” Id. at 302, 306–07 (internal

quotation marks and citation omitted).

      Here too, even if Congress believes foreign adversaries have the

ability to shape the content American viewers see on TikTok,40 the

remedy is not to shut down TikTok. Quite the opposite: “If there be time

to expose through discussion the falsehood and fallacies, to avert the evil

by the processes of education, the remedy to be applied is more speech,

not enforced silence.” Linmark Assocs., Inc. v. Willingboro Twp., 431 U.S.

85, 97 (1977) (citation omitted).

      Or, to use a modern example, Spotify is based in Sweden. Much like

TikTok, that app is fueled by an algorithm that suggests music and

podcasts to users, serves up playlists, recommends live shows, etcetera.

Perhaps, theoretically, that mode of operation gives Spotify the power to

push content to users that favors certain values or even political

perspectives. (After all, many podcasts espouse political views, and music

is a powerful medium known to influence people’s perspectives.) But the

First Amendment would never allow Congress to shut down Spotify for




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40 170 Cong. Rec. at H1165 (statement of Rep. Frank Pallone (NJ)).

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that reason. The marketplace of ideas leaves the curation of political

content and evolution of musical taste to private choices.

      Even if deterring foreign propaganda were a permissible reason to

censor speech, that still would not save the Act. “Because the

Government is defending a restriction on speech as necessary to prevent

an anticipated harm, it must do more than ‘simply posit the existence of

the disease sought to be cured.’” FEC v. Cruz, 596 U.S. 289, 307 (2022)

(citation omitted). “It must instead point to ‘record evidence or legislative

findings’ demonstrating the need to address a special problem.” Id.

(citation omitted); see also Playboy, 529 U.S. at 822 (invaliding law under

strict scrutiny due to “barren legislative record” supporting interest);

Turner II, 520 U.S. at 196 (similar requirement under intermediate

scrutiny).

      The government has done nothing of the sort. Congress made no

findings whatsoever to justify the Act. Nor did Congress rely on any

evidence, much less substantial evidence, that could establish that the

Act addresses any interest in fighting propaganda. The House Committee

Report, for example, cites “[o]utside reporting” and “statements made by

the Executive Branch regarding the tight interlinkages” between TikTok


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and the CCP. H.R. Rep. No. 118-417, at 3. Such unsupported assertions

are a far cry from what the First Amendment demands. See, e.g., Cruz,

596 U.S. at 307–10 (finding insufficient “a few stray floor statements”

and “a handful of media reports and anecdotes”). Even if they were

concrete and formal, there is still no evidence that the Chinese

government could or would use TikTok to spread propaganda.

      What’s more, a court may not assume that a law will “always

advance the asserted state interests sufficiently to justify its abridgment

of expressive activity.” City of Los Angeles v. Preferred Commc’ns, Inc.,

476 U.S. 488, 496 (1986) (citation omitted). The law must advance those

interests “in a direct and material way.” Turner I, 512 U.S. at 664. And

that is impossible where the law is underinclusive—that is, when it

targets only a portion of the speech that gives rise to the government’s

ostensible concerns. See Greater New Orleans Broad. Ass’n, Inc. v.

United States, 527 U.S. 173, 193 (1999). All the more so where the law’s

omissions create an “irrational[]” and “puzzling … framework.” Rubin v.

Coors Brewing Co., 514 U.S. 476, 489 (1995).

      The Act is irrational and puzzling in the extreme. TikTok is hardly

alone in supplying videos to large U.S. audiences. Yet the Act does not


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regulate any other apps that have reportedly been subject to foreign

influence.41 Nor does the Act even regulate content from foreign

adversaries themselves. After the Act, as before, China, Russia, and other

“foreign adversaries” may transmit content on state-owned media sites

directly into this country. There is no plausible reason why federal law

aimed at deterring propaganda should ban speech from American

citizens on cooking, sports, and relationships, while allowing foreign

adversaries themselves to transmit political content to U.S. viewers.

      If that weren’t enough of a head scratcher, there is more. Any other

company that would otherwise be subject to a divestiture requirement

can exempt itself from the Act’s reach simply by creating another app

whose primary purpose is product, travel, or business reviews. That is

because the text of the exemption for hosting such reviews is keyed to

“entit[ies] that operate[]” apps and websites, not apps or websites

themselves. Act § 2(g)(2)(B). Even though TikTok could theoretically

create an app for product reviews or the like—and even though TikTok

hosts such reviews42—it does not have access to this safety valve.


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41 Add. 420–25, available at https://tinyurl.com/yc6kyv4u.
42 See, e.g., Cadet Decl. ¶ 4, Add. 9–10 (multimedia upload).

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      Finally, the government cannot show that the Act is narrowly

tailored to advance any purported interest in squelching propaganda—

much less that it is the least restrictive means to do so. Congress could,

for example, have required that TikTok be more transparent about its

content curation. Or the government could simply engage in speech of its

own to counter any alleged foreign propaganda. See Linmark Assocs, 431

U.S. at 97. While some less dramatic measures might themselves trigger

First Amendment problems, the existence of substantially more limited

alternatives confirms that the Act’s blunderbuss approach is not

narrowly tailored.

      The Act is also “vastly overinclusive.” Brown, 564 U.S. at 804; see

also Sorrell, 564 U.S. at 566 (law’s overinclusiveness showed absence of

tailoring under intermediate scrutiny). The Act bans not only TikTok but

also CapCut, ByteDance’s app that offers tools for editing videos.

CapCut’s tools can also be used to edit videos posted on platforms besides

TikTok, or never posted at all. Such neutral tools cannot themselves

threaten the government’s purported interest in preventing propaganda.




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                      2.    The government cannot justify the Act
                            based on an interest in data security.

      Nor can the government show that the Act survives scrutiny by

asserting that the Act serves an interest in promoting data security.

      To start, any data-security justification cannot itself support the

Act. The Act’s text provides that even a “qualified divestiture” would not

enable TikTok to keep operating within the United States if the

transaction allows the purchaser to obtain input from TikTok concerning

the “content recommendation algorithm.” Act § 2(g)(6)(B). Congress thus

decided that, even if all purported data-security concerns were

addressed, TikTok cannot continue operating as it currently exists. Only

changes in how TikTok cultivates “content” will do.

      Any data-security rationale also fails because any alleged concerns

that China might obtain data to engage in espionage or the like are

unproven. Even under intermediate scrutiny, speculation about risks is

insufficient; otherwise, speech restrictions could “become essentially

unreviewable.” Bay Area Peace Navy v. United States, 914 F.2d 1224,

1228–29 (9th Cir. 1990). But those who have defended the Act on data-

security grounds appear to rely on mere speculation. Floor statements

and an unclassified copy of a congressional briefing speak only in

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hypotheticals, focusing on the “potential” for “abuse” and what the PRC

“could” or “can” do.43 And federal courts have found prior data-security

concerns “factually unsupported.” Alario, 2023 WL 8270811, at *10;

accord TikTok, 507 F. Supp. 3d at 114‒15 (no “specific evidence” of such

threat); TikTok, 490 F. Supp. 3d at 85 (same). For the strong medicine of

banning a global communication platform, the Act provides insufficient

evidence of the claimed disease.

      If, on the other hand, the government’s data-security concerns had

solid foundation in reality, the Act would be woefully underinclusive. “[I]t

is well-established that other social media companies … collect similar

data as TikTok, and sell that data to undisclosed third parties.” Alario,

2023 WL 8270811, at *11. Even without TikTok, Congress members

acknowledged that “China and other foreign adversaries will still be able

to acquire vast amounts of Americans’ data.”44




—————
43 170 Cong. Rec. at H1162 (statement of Rep. Nick Langworthy (NY))

and H1163 (statement of Rep. Anna Eshoo (CA)); see also Add. 427
(“Working through ByteDance, the PRC could use TikTok to access data
on millions of U.S. users and control the software on millions of U.S.
devices.”) (emphasis added).
44 170 Cong. Rec. at H1165 (statement of Rep. Frank Pallone (NJ)).

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      Lastly, even if the government could show that the Act advanced

genuine data-security interests, the Act is far from narrowly tailored to

achieve those interests. See United States v. Doe, 968 F.2d 86, 90 (D.C.

Cir. 1992) (applying narrow tailoring to speech restriction). Congress

could have enacted a general consumer privacy statute that applies to all

services that collect user data or created rules preventing companies from

selling or providing user data to certain third parties.45 Indeed, in the

same omnibus package, Congress prohibited any data broker from

selling, licensing, renting, trading, transferring, releasing, disclosing,

providing access to, or otherwise making available personally identifiable

sensitive data of an American citizen to any foreign adversary country or

to any entity controlled by such a country. See Pub. L. No. 118-50, Div. I,

§ 2, 138 Stat. at 960.

      Congress has also considered laws requiring, for example, TikTok

to disclose to users purported data-security risks, annual reporting to the

government regarding TikTok’s data protection practices, and sanctions


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45 As Representative Greene put it, “If we cared about Americans’ data,

then we would stop the sale of Americans’ data universally, not just with
China.” 170 Cong. Rec. at H1167 (statement of Rep. Marjorie Taylor
Greene (GA)).
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for any unauthorized transmission of American data to servers in China.

See, e.g., S. 4689 (116th Cong.); H.R. 4793 (117th Cong.); cf. H.R. 784

(118th Cong.); H.R. 750 (118th Cong.); H.R. 742 (118th Cong.); H.R. 4000

(117th Cong.); H.R. 3991 (117th Cong.); H.R. 1090 (117th Cong.); S. 47

(117th Cong.); H.R. 6570 (116th Cong.). Those are available alternatives

that restrict far less speech.

      TikTok itself has proposed alternatives to a ban. These include

creating a U.S.-based subsidiary, providing government input into that

subsidiary’s board, housing sensitive U.S. user data in the United States,

allowing oversight by Oracle (a U.S. corporation), and offering the

government a shut-down option. See, e.g., TikTok Br. at 15–17

(discussing Project Texas and alternatives proposed to Committee on

Foreign Investment in the United States).46 But the government has not

suggested—in legislative findings or otherwise—that those alternatives

are unworkable. That failure belies any assertion that the Act is narrowly

tailored to address data-security concerns. Cf. Sable Commc’ns, Inc. v.

FCC, 492 U.S. 115, 129 (1989) (invalidating law where “record

contain[ed] no legislative findings” showing “no constitutionally

—————
46 See also Add. 327–33, available at https://tinyurl.com/2rkmwyuw.

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acceptable less restrictive means, short of a total ban, to achieve”

government interest).

                        3.   The Act does not leave open ample channels
                             of communication.

      Finally, to the extent intermediate scrutiny applies, the Act violates

the First Amendment because the government cannot show it leaves open

to Petitioners adequate alternatives to TikTok. Ward, 491 U.S. at 797–

800; see also Linmark, 431 U.S. at 93 (less effective media to

communicate are unsatisfactory). In City of Ladue, for instance, the city

defended a ban on residential signs on the ground that “residents remain

free to convey their desired messages by other means.” 512 U.S. at 56.

The Court rejected that argument because it was “not persuaded that

adequate substitutes exist for the important medium of speech.” Id.; see

also Boardley v. U.S. Dep’t of Interior, 615 F.3d 508, 524–25 (D.C. Cir.

2010) (law requiring permit to distribute written materials in national

parks failed to leave open ample alternatives despite option to distribute

on other property nearby); Initiative & Referendum Inst. v. U.S. Postal

Serv., 417 F.3d 1299, 1310 (D.C. Cir. 2005) (prohibition on soliciting

signatures on Postal Service property did not leave open ample



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alternatives “because it is…not enough that petitioners may solicit

signatures at other locations” (citation omitted)).

      Likewise here, the Act precludes Petitioners from using their

primary method of engaging with audiences they cannot reconstitute

elsewhere. Communicating through TikTok has unique expressive

meaning for Petitioners, and TikTok is an irreplaceable medium and

forum for expression. See supra 24–37. Even a divested TikTok (if that

were possible) would not supply an adequate alternative. Supra at 38–

40.

      C.   Even if the Act legitimately restricted some speech, its total
           ban would still be overbroad.

      The Act independently violates the First Amendment because it is

overbroad. The Constitution prohibits “overbroad laws that chill speech

within the First Amendment’s vast and privileged sphere.” Ashcroft v.

Free Speech Coal., 535 U.S. 234, 244 (2002). A law is “overbroad if ‘a

substantial number of its applications are unconstitutional, judged in

relation to the statute’s plainly legitimate sweep.’” United States v.

Stevens, 559 U.S. 460, 473 (2010) (citation omitted). It thus is not enough

for a ban to have some legitimate applications. City of Houston v. Hill,



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482 U.S. 451, 458–59 (1987). If it suppresses a substantial amount of

protected speech, it is invalid. Id. at 465–66.

      Applying the overbreadth doctrine, the Supreme Court has

repeatedly invalidated absolute bans. In Lovell v. City of Griffin, 303 U.S.

444 (1938), for instance, the Court invalidated an ordinance banning

“every sort of circulation” of printed material within a city’s limits. Id. at

451. And in Board of Airport Commissioners of City of Los Angeles v.

Jews for Jesus, 482 U.S. 569, 574–75 (1987), the Court enjoined a ban on

all First Amendment activities in the Central Terminal Area of the Los

Angeles International Airport. Given the sheer volume of speech

disseminated through online media—on topics “as diverse as human

thought”—the Court has also explained that the overbreadth doctrine

applies especially forcefully to laws targeting online communications.

Reno, 521 U.S. at 852, 863.

      Under these principles, the Act unquestionably bans a substantial

array of protected speech, in relation to any legitimate applications.

Petitioners, like hundreds of millions of other Americans, create, share,

and view content that has nothing to do with the Act’s apparent content-

based concerns. Even President Biden and other elected officials continue


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to post content on TikTok. See supra at 6. So even if some small amount

of expression on the platform could be suppressed, that would still not

justify prohibiting the diverse speech on the app that does not “remotely

threaten[]” the government’s interests. Boardley, 615 F.3d at 521–23.

      That the Act primarily bans only one medium, leaving Petitioners

and other speakers able to express themselves in other ways, does not

save it from overbreadth. Jews for Jesus held a single-forum ban—

applying only to one area of an airport—overbroad even though the

affected speakers could communicate elsewhere. 482 U.S. at 574–75. If

“a law prohibiting ‘all protected expression’ at a single airport is not

constitutional, it follows with even greater force that the State may not

enact [a] complete bar to the exercise of First Amendment rights on

websites” singled out by statute. Packingham, 582 U.S. at 109 (citation

omitted).

II.   The Court Should Enter a Permanent Injunction.

      A permanent injunction is warranted where plaintiffs satisfy four

factors: (1) they will suffer “an irreparable injury”; (2) “remedies available

at law, such as monetary damages, are inadequate to compensate for that

injury”; (3) “considering the balance of hardships between the plaintiff


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and defendant, a remedy in equity is warranted”; and (4) “the public

interest would not be disserved by a permanent injunction.” See

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156–57, 162 (2010)

(citation omitted). Courts have found these factors supported injunctive

relief against prior attempts to ban TikTok. See, e.g., Marland, 498 F.

Supp. 3d at 641–43; Alario, 2023 WL 8270811, at *17–18; TikTok, 490 F.

Supp. 3d at 84–85; TikTok, 507 F. Supp. 3d at 113–15. All four factors

are present here as well.

      First, Petitioners will suffer irreparable harm absent an injunction.

The Act will shutter Petitioners’ preferred medium and forum for

expression and deprive them of their right to choose TikTok as their

editor and publisher. See supra at 27–41; Martin Decl. ¶¶ 14–17, Add.

41–43; Sexton Decl. ¶¶ 12–15, Add. 48–51; Spann Decl. ¶¶ 15–17, Add.

60–61; Townsend Decl. ¶¶ 13–18, Add. 69–72; King Decl. ¶¶ 12–14, Add.

33–34; Tran Decl. ¶¶ 13–14, Add. 79–80; Firebaugh Decl. ¶¶ 14–18, Add.

24–27; Cadet Decl. ¶¶ 14–15, Add. 15–16. This “loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). Petitioners

will also suffer irreparable economic harm. See Martin Decl. ¶¶ 10, 14–


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15, Add. 39, 41–42 (loss of brand deals and income from TikTok Creator

Fund); Spann Decl. ¶ 9, Add. 56 (same); Firebaugh Decl. ¶¶ 11–13, Add.

23–24; Tran Decl. ¶¶ 6, 13, Add. 75, 79–80 (loss of income through TikTok

Shop and other business opportunities); Sexton Decl. ¶¶ 8, 14, Add. 46–

47, 50 (loss of free, effective marketing for cookie business); King Decl.

¶ 9, Add. 32; see also, e.g., Marland, 498 F. Supp. 3d at 641–42 (TikTok

ban would cause creators to suffer irreparable financial harm by shutting

down their influencing activities); Alario, 2023 WL 8270811, at *17

(same).

      Second, no remedy available at law can redress these injuries.

Monetary damages are unavailable “where, as here, the defendant is

entitled to sovereign immunity,” All. for Hippocratic Med. v. U.S. Food &

Drug Admin., 78 F.4th 210, 251 (5th Cir. 2023), rev’d on other grounds,

FDA v. All. for Hippocratic Med., 602 U.S. ----, 2024 WL 2964140 (June

13, 2024). And in any event, “monetary damages are inadequate to

compensate for the loss of First Amendment freedoms.” Legend Night

Club v. Miller, 637 F.3d 291, 302 (4th Cir. 2011) (citing Joelner v. Vill. of

Wash. Park, 378 F.3d 613, 620 (7th Cir. 2004)).




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      Third and fourth, equity and the public interest—which merge

where the government is the party opposing injunctive relief, Nken v.

Holder, 556 U.S. 418, 435 (2009)—support an injunction because

“enforcement of an unconstitutional law is always contrary to the public

interest.” Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013) (collecting

cases). As this Court has held, “there is always a strong public interest

in the exercise of free speech rights otherwise abridged by an

unconstitutional regulation.” Pursuing Am.’s Greatness v. FEC, 831 F.3d

500, 511 (D.C. Cir. 2016). That is particularly true where, as here,

enforcement would infringe the rights of not only Petitioners but also

others subject to the same restrictions. See Klein v. City of San Clemente,

584 F.3d 1196, 1208 (9th Cir. 2009); TikTok, 490 F. Supp. 3d at 84

(“courts consider the impacts of the injunction on nonparties as well”).

      The Act prohibits protected speech and denies access to a vital

forum “integral to the fabric of our modern society and culture.”

Packingham, 582 U.S. at 109. All four factors weigh strongly in favor of

an injunction.

                             CONCLUSION

      For these reasons, the Court should enjoin the Act. Alternatively, if


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the Court believes further briefing or fact finding is necessary to

determine whether the Act is constitutional, it should enter a

preliminary injunction and order further proceedings as appropriate.



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      1.   This document complies with the type-volume limit set by the

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